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BORER WNSNE MEET, CLERK
BY Ar ey
IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF LOUISIANA
SHREVEPORT DIVISION 5; OO
UN
JACQUETTA MITCHELL CIVIL ACTION NO.: 2475-S
VERSUS JUDGE: WATLER
BAILEY PROPERTIES, L.L.C. d/b/a/ MAGISTRATE JUDGE: PAYNE

WESTWOOD VILLAGE APARTMENTS
ANSWER
NOW INTO COURT, through undersigned counsel, comes Bailey Properties, L.L.C.
d/b/a/ Westwood Village Apartments (“Defendant”), who, and answer to the complaint of
Jacquetta Mitchell, respectfully avers as follows:
FIRST DEFENSE
Plaintiff fails to state a claim upon which relief may be granted.
1.
The allegations of Paragraph 1 of Plaintiff’s Complaint are denied based on lack of
information upon which to form a belief therein.
2.
The allegations of Paragraph 2 of Plaintiff's Complaint are denied based on lack of
formation upon which to form a belief therein.
3.

The allegations of Paragraph 3 of Plaintiff’s Complaint are admitted.

 
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4.
The allegations contained in Paragraph 4 of Plaintiff’s Complaint are denied.
5.
The allegations contained in Paragraph 5 Plaintiff’s Complaint are denied.
6.
The allegations contained in Paragraph 6 of Plaintiff's Complaint are denied based on
lack of information upon to which to form a belief therein.
7.
The allegations contained in Paragraph 7 of Plaintiff’s Complaint are denied based on
lack of information upon to which to form a belief therein.
8.
The allegations contained in Paragraph 8 of Plaintiff's Complaint are based on lack of
information upon to which to form a belief therein..
9.
The allegations contained in Paragraph 9 of Plaintiff’s Complaint are denied based on
lack of information upon to which to form a belief therein.
10.
The allegations contained in Paragraph 10 of Plaintiff’s Complaint are denied based on

lack of information upon to which to form a belief therein.

 
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11.
The allegations contained in Paragraph 11 of Plaintiff’s Complaint are denied based on
lack of information upon to which to form a belief therein.
12.
The allegations contained in Paragraph 12 of Plaintiff's Complaint are denied.
13.
The allegations contained in Paragraph 13 of Plaintiff's Complaint are denied.
14,
The allegations contained in Paragraph 14 of Plaintiff’s Complaint are denied.
15.
The allegations contained in Paragraph 15 of Plaintiff’s Complaint are denied.
16.
The allegations contained in Paragraph 16 of Plaintiff’s Complaint are denied.
17.
The allegations contained in Paragraph 17 of Plaintiff's Complaint are denied based on
lack of information upon which to form a belief therein.
18.
The Plaintiff’s Complaint requires no answer. To the extent an answer is required the

allegations of Paragraph 18 are denied.

 
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19.
The allegations contained in Paragraph 19 of Plaintiff's Complaint are denied.
20.
The allegations contained in Paragraph 20 of Plaintiff’s Complaint are denied.
21.
The allegations contained in Paragraph 21 of Plaintiff's Complaint are denied
22.
The allegations contained in Paragraph 22 of Plaintiff’s Complaint are denied based on
lack of information upon which to form a belief therein.
23,
The allegations contained in Paragraph 23 of Plaintiff’s Complaint require no answer.
To the extent an answer is required the allegations contained in Paragraph 23 of Plaintiff’s
Complaint are denied.
24.
The allegations contained in Paragraph 24 of Plaintiff’s Complaint are denied.
25.
The allegations contained in Paragraph 25 of Plaintiff's Complaint do not require an
answer. To the extent an answer is required the allegations contained in Paragraph 25 of

Plaintiff's Complaint are denied.

 
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Further answering,
26.
Defendant herein avers that the Plaintiff has failed to mitigate her damages.
27.
Plaintiff has failed to state a claim upon which relief may be granted.
28.
Jacquetta Mitchell is a “key employee” as defined by 29 USC Section 2614 (b)(2).
29.
Defendant requests a trial by jury on all issues triable by a jury herein.
Wherefore, Defendant prays as follows:

a. That Plaintiff take nothing by reason of it’s Complaint, that Judgment be
rendered in favor of Defendant;

b. That Defendant be awarded its costs incurred in defense of this matter; and
c. Any further relief which the court deems proper.
Respectfully submitted,

JEANSONNE & REMONDET

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ODD BENSQN #25331
JENNIFER B. DRAGO #53633
6007 Financial Plaza, Suite 708
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Fax: (318) 671-8103
ATTORNEYS FOR BAILEY
PROPERTIES, L.L.C. d/b/a
WESTWOOD VILLAGE
APARTMENTS

CERTIFICATE OF SERVICE
I] HEREBY CERTIFY that a true and correct copy of the above and foregoing

pleading was this day forwarded to all known counsel of record by depositing a copy of same

in the United States Mail, postage prepaid and properly addressed.

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2 “OF COUNSEL

Shreveport, Louisiana, this

 

 
